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IN THE UNlTED STATES DlSTRlCT COURT
WESTERN DISTRICT OF TENNESSEE m_ASM MGOLH_D
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WAYMON G. STEWART AND
KATHRYN STEWART,

Plaintiffs,
vs. No. 04-2179-DP

J'URY DEMANDED
STRONG BUILT, INC., a Louisiana
Corporation, AND BASS PRO OUTDOOR
WORLD, L.L.C, d/b/a BASS PRO SHOPS
SPORTSMAN WAREHOUSE, a Missouri
Lirnited Liability Company,

Defendants.

 

THIRD AMENDED SCHEDULING ORDER

 

Pursuant to the Third Joint l\/[otion of the parties to amend the Scheduling Order Which
was entered by this Court on June 29, 2004, and subsequently amended by Order of February 25,
2005, and M ay 13, 2005, the Scheduling Order is hereby amended The Court shall establish the

following dates:

l. Cornpleting all discovery: August l, 2005
2. Expert Witness depositions'. August 1, 2005
3. Filing dispositive motions: August l, 2005

  
 

This document entered on the docket
with lilqu 58 and/or 79(3) FRCP on

 

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Absent good cause shown, the scheduled dates set by this Order Will not be modified or

extended
lT IS SO ORDERED.

United States Magistrate Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02179 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

